Case 2:18-cr-00331-GW Document 117 Filed 01/17/20 Page 1 of 2 Page ID #:1269




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                                    UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                      Case No. CV 18-331-GW
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13                     Plaintiff,                   ORDER GRANTING
                                                    DEFENDANT’S EX PARTE
14               vs.                                APPLICATION TO FILE
15                                                  DOCUMENTS UNDER SEAL
   ARMAN GABAEE aka “Arman
16 Gabay,”
17                                                  Trial Date:        March 3, 2020
           Defendant.                               Status Conference: February 24, 2020
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20               Having read and considered the ex parte application of Defendant Arman
21 Gabaee aka “Arman Gabay” (“Mr. Gabay” or “defendant”) for leave to file under
22 seal his Motion to Suppress Intercepted Wire Communications, and having
23 considered any opposition to that application, and with good cause appearing, the
24 Court ORDERS as follows:
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28 / / /
     1403272 3                                                         Case No. 2:18-cr-00331-GW
                                                  -1-
                                            [PROPOSED] ORDER
Case 2:18-cr-00331-GW Document 117 Filed 01/17/20 Page 2 of 2 Page ID #:1270




 1               1.   Defendant’s ex parte application is GRANTED. The Clerk shall file
 2 under seal the documents attached to that application as follows:
 3                    a.    Mr. Gabay’s Motion to Suppress Intercepted Wire
 4                          Communications;
 5                    b.    Declaration of Ivy A. Wang;
 6                    c.    Table of Exhibits and Exhibits 1 to 35;
 7                    d.    Proposed Order.
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 9               IT IS SO ORDERED.
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11    Date: January 17, 2020
                                                          Honorable George H. Wu
12                                                        United States District Judge
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     1403272 3                                                           Case No. 2:18-cr-00331-GW
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                                          [PROPOSED] ORDER
